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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

TECHNO LICENSING, LLC                         )
                                              )
               Plaintiff,                     )
                                              )       No. 1:18-cv-06505
v.                                            )
                                              )
DILLON KANE GROUP, LLC,                       )
                                              )
               Defendant.                     )

                       DEFENDANT’S MOTION FOR EXTENSION
                     OF TIME TO ANSWER OR OTHERWISE PLEAD

       Defendant Dillon Kane Group, LLC (“Dillon Kane”), through its undersigned counsel and

pursuant to Federal Rule of Civil Procedure 6(b), moves this Court for an extension of time of

sixty (60) days, to December 24, 2018, to file a response to Plaintiff’s Complaint. In support of

its motion, Dillon Kane states as follows:

       1.      On September 25, 2018, Plaintiff Techno Licensing, LLC filed its Complaint

seeking an injunction and damages for alleged patent infringement. (See Doc. #1.)

       2.      On October 3, 2018, Dillon Kane was served with a copy of the Summons and

 Complaint. Pursuant to Federal Rule of Civil Procedure 12(a)(1)(A)(i), Dillon Kane’s responsive

 pleading is due on October 24, 2018.

       3.      On October 17, 2018, Dillon Kane retained Andrew J. Greene and Arthur M.

 Scheller III of ASG Law LLC to represent it in this case.

       4.      Plaintiff’s Complaint alleges infringement of a patent entitled “Communication

 Method and Communication Equipment in the PoC Service” (the ‘011 Patent”). The ‘011 Patent

 implicates technology for controlling a communication relay. Plaintiff alleges that Dillon Kane

 sells, offers to sell, and/or uses push-to-talk over cellular (PoC) platforms, including the Instant
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Connect communications platform, which allegedly infringe the ‘011 Patent. The underlying

facts of this case are complex and highly technical. Undersigned counsel has just been retained

and started investigating the facts and defenses pertaining to the claimed patent infringement.

       5.      Accordingly, Defendant Dillon Kane seeks an extension of sixty (60) days, until

December 24, 2018, to file its responsive pleading. This extension will allow Dillon Kane to

investigate Plaintiff’s allegations and will not unreasonably delay the progress of this matter.

       WHEREFORE Defendant Dillon Kane Group, LLC respectfully requests that this Motion

be granted, and that an order be entered granting it an extension of sixty (60) days, until December

24, 2018, to file a responsive pleading to Plaintiff Techno Licensing, LLC’s Complaint.

Dated: October 18, 2018                              Respectfully submitted,

                                                     DILLON KANE GROUP, LLC



                                                     By:/s/Arthur M. Scheller III___
                                                            One of its attorneys

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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on October 18, 2018, I electronically transmitted the
foregoing Defendant’s Motion for Extension of Time to Answer or Otherwise Plead to the
Clerk of the Court using the CM/ECF System for filing and transmittal to the CM/ECF registrants.


                                                   /s/Arthur M. Scheller III___




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